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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

          MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA                 )
                                         )      CRIMINAL ACTION NO.
     v.                                  )         2:12cr104-MHT
                                         )              (WO)
STEVEN P. MOCK                           )


                                      JUDGMENT

      It is the ORDER, JUDGMENT, and DECREE of the court as

follows:

      (1) The motion to vacate conviction (doc. no. 539) is

granted, and the conviction of defendant Steven P. Mock is

vacated.

      (2) The motion to dismiss indictment due to the death

of    defendant       Mock    (doc.     no.   539)     is   granted,    and    the

indictment (doc. no. 1) is dismissed without prejudice as

to defendant Mock.

      It     is   further     ORDERED    that    the    motion    for   downward

departure and alternative motion for a variance (doc. no.

347) are denied as moot.

      DONE, this the 20th day of January, 2015.

                                           /s/ Myron H. Thompson___
                                        UNITED STATES DISTRICT JUDGE
